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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 SHIVA STEIN,                                              :
                                                           :
                   Plaintiff,                              : Civ. No.     1:22-cv-6648
                                                           :
 v.                                                        :
                                                           :
 AUTOWEB, INC., MICHAEL J. FUCHS,                          :
 MATÍAS DE TEZANOS, MARK N.                                :
 KAPLAN, JARED R. ROWE, JANET M.                           :
 THOMPSON, and JOSÉ VARGAS,                                :
                                                           :
                   Defendants.                             :
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                            NOTICE OF VOLUNTARY DISMISSAL

        Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff Shiva Stein hereby voluntarily dismisses her individual claims in the above-

captioned action (the “Action”) with prejudice. Because this notice of dismissal is being filed with

the Court before service by Defendants of either an answer or a motion for summary judgment,

Plaintiff’s dismissal of the Action is effective upon filing of this notice.

DATED: November 14, 2022                                 Respectfully submitted,

                                                      MELWANI & CHAN LLP
Any pending motions are moot. All
conferences are vacated. The Clerk                    /s Gloria Kui Melwani
of Court is directed to close the case.               Gloria Kui Melwani (GM5661)
                                                      1180 Avenue of the Americas, 8th Floor
SO ORDERED.                                           New York, New York 10036
                                                      Tel: (212) 382-4620
                                                      Email: gloria@melwanichan.com

                                                       Attorneys for Plaintiff
November 15, 2022
